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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

x
MICHAEL MCGREGOR, ZACHARY GIAMBALVO, Declaration of Patricia M.
PAUL FELICE, MATTHEW OLIVIERI, EDWARD Hingerton in Opposition to
NEWMAN, and DARK STORM INDUSTRIES, LLC, a Preliminary Injunction
Plaintiffs,
Case No.: 2:23-CV-01130
-against-

(Brown, J.)(Lindsay, M.J.)
SUFFOLK COUNTY, New York, Police Commissioner
RODNEY HARRISON, in his Official Capacity, and
Acting Superintendent STEVEN NIGRELLI,
in his Official Capacity,

Defendants.
x

PATRICIA M. HINGERTON, an attorney duly licensed to practice law before the Courts of this
State and in the Eastern District of New York, declares the following to be true and correct under
penalty of perjury, pursuant to § 1746 of Title 28 of the United States Code:

tb I am an Assistant Attorney General, of counsel to Letitia James, Attorney General of the
State of New York, attorney for Defendant Steven Nigrelli, in his official capacity as Acting
Superintendent of the New York State Police (the “Superintendent”) in the above-referenced action.

2 I submit this Declaration is support of the Superintendent’s opposition to Plaintiffs’
motion for a preliminary injunction, ECF No. 6, for the limited purpose of putting before the Court the
following documents referenced in the accompanying memorandum of law:

Exhibit 1: N.Y. Div. of Criminal Just. Servs., Frequently Asked

Questions Regarding Recent Changes to New York State
Firearms Laws (Aug. 27, 2022).
Exhibit 2: N.Y. State Police, Frequently Asked Questions for

Firearms Dealers Regarding Recent Changes to New
York Firearm Laws (Dec. 6, 2022)
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WHEREFORE, for the reasons set forth in the accompanying memorandum of law, it is
respectfully requested that Plaintiffs’ motion for a preliminary injunction to the extent that it seeks to
enjoin the Superintendent from enforcing New York’s semiautomatic licensing law on the grounds that
it is facially unconstitutional should be denied, and the Court should grant such other and further relief
as it may deem just and proper.

Dated: Hauppauge, New York
April 21, 2023

Pac. UY. beer

Patricia M. Hingerton
Assistant Attorney General

